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 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 GARTH HIRE (CABN 187330)
   KATHERINE M. LLOYD-LOVETT (CABN 276256)
 5 Assistant United States Attorneys

 6            1301 Clay Street, Suite 340S
              Oakland, California 94612
 7            Telephone: (510) 637-3680
              FAX: (510) 637-3724
 8            Garth.hire@usdoj.gov
              Katherine.lloyd-lovett@usdoj.gov
 9
     Attorneys for United States of America
10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                           SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                         )   NO. CR 21-00359 RS
                                                       )
15            Plaintiff,                               )   STIPULATION TO CONTINUE STATUS
                                                       )   CONFERENCE AND EXCLUDE TIME FROM
16      v.                                             )   OCTOBER 4, 2022, TO NOVEMBER 15, 2022,
                                                       )   AND ORDER
17   SABER HUSSAIN,                                    )
                                                       )
18            Defendant.                               )
                                                       )
19

20            The parties in the above-captioned matter are currently set for a status conference on October 4,
21 2022, before the Honorable Richard Seeborg. The parties have met and conferred and wish to continue

22 the status conference to allow for defendant’s further demonstration of good conduct under the terms of

23 the parties’ Deferred Prosecution Agreement. The parties have consulted with the Court’s Courtroom

24 Deputy and understand that November 15, 2022, is an available date for a Zoom status conference at

25 2:30 p.m. Accordingly, the parties hereby request that the Court continue the status conference currently

26 scheduled for October 4, 2022, at 2:30 p.m. to November 15, 2022, at 2:30 p.m.

27            As noted above, the parties have entered into a written Deferred Prosecution Agreement. Dkt.
28           10-1. 18 U.S.C. Section 3161(h)(2) states that the following period of time is excludable under the

     STIPULATION TO CONTINUE HEARING AND EXCLUDE TIME AND ORDER
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 1 Speedy Trial Act: “Any period of delay during which prosecution is deferred by the attorney for the

 2 Government pursuant to written agreement with the defendant, with the approval of the court, for the

 3 purpose of allowing the defendant to demonstrate his good conduct.” The parties stipulate and agree

 4 that this provision applies here because there is a written agreement between the parties and the

 5 government’s prosecution of the defendant is currently deferred to allow the defendant to demonstrate

 6 his good conduct pursuant to that agreement. The parties therefore ask the Court to order time excluded

 7 between October 4, 2022, and November 15, 2022, on that basis.

 8          The undersigned Assistant United States Attorney certifies that she has obtained approval from

 9 counsel for the defendant to file this stipulation and proposed order.

10          IT IS SO STIPULATED.

11 DATED: July 8, 2022                                     /s/                  ___
                                                  GARTH HIRE
12                                                KATHERINE M. LLOYD-LOVETT
                                                  Assistant United States Attorneys
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14 DATED: July 8, 2022                                     /s/                ___
                                                  VICKI H. YOUNG
15                                                Counsel for Defendant Saber Hussain

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     STIPULATION TO CONTINUE HEARING AND EXCLUDE TIME AND ORDER
     Case No. CR 21-00359 RS
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 1                                                   ORDER

 2          Based upon the facts set forth in the stipulation of the parties and the representations made to the

 3 Court, and for good cause shown, the Court hereby ORDERS that the status conference currently set for

 4 October 4, 2022, at 2:30 p.m. be vacated and that a further status conference be set for November 15,

 5 2022, at 2:30 p.m. via Zoom videoconferencing. The Court further ORDERS that time is excluded from

 6 computation under the Speedy Trial Act from October 4, 2022, through November 15, 2022, based on

 7 the parties’ representation that they have entered into a written Deferred Prosecution Agreement and that

 8 the government’s prosecution is currently deferred to allow the defendant to demonstrate his good

 9 conduct. 18 U.S.C. § 3161(h)(2).

10          IT IS SO ORDERED.

11
           July 8, 2022
12 DATED: ___________________                                     ___________________________
                                                                  HON. RICHARD SEEBORG
13                                                                Chief United States District Judge

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     STIPULATION TO CONTINUE HEARING AND EXCLUDE TIME AND ORDER
     Case No. CR 21-00359 RS
